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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

IRMGARD PAGAN RIVERA CIVIL ACTION No: 3:24-CV-01457 - RAM

Plaintiff

VS. COMPLAINT FOR BREACH OF
CONTRACT, DAMAGES, INVASION OF
PROPERTY

LUMA ENERGY, LLC., AND OTHERS

Defendants TRIAL BY JURY

MOTION TO RECONSIDER JUDGMENT
TO THE HONORABLE COURT:

NOW COMES THE PLAINTIFF, by her undersigned attorney, and very respectfully avers:

l. The complaint in this case was filed on September 28, 2024, Docket Number 1.

2. Defendants LUMA Energy LLC. (LUMA1), and LUMA Energy Serv Co.(LUMA2),
entered their appearance on October 24, 2024. Docket #8.

3. On December 26, 2024, defendants LUMA, et als, filed a motion to dismiss the
complaint alleging inter alia: 1) Insufficient allegations related to the cause of action; 2) a prior
easement allowing the construction of electric transmission towers on the plaintiff's property; (3)
alleged lack of diversity jurisdiction; 3) Insufficient plea allegations to survive juridictional amount
requirement question; 4) that the complaint fails to raise a federal question 5) alleged failure to reach
pleading standards under Rule 12(b) scrutiny.

4, On March 4, 2025, that Honorable Court entered an Order Dismissing the Amended
Complaint, without Prejudice, based on the finding that the Plaintiff failed to sufficiently allege that

her damages meet the juridictional amount.

5. Plaintiff now alleges that the amended complaint does meet the threshold
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requirements of 28 JSC § 1332 (a) which requires that the Court have original jurisdiction of all
civil actions where the matter in controversy exceeds the sum or value of $75,000.00, exclusive of
interest and costs, and is between (1) citizens of different States; ........

A) Diversity: The plaintiff has alleged that she is a resident of the State of Maryland, and in
her opposition to the motion to dismiss filed by the defendants, included evidence of her domicile
by virtue of correspondence addressed to her residence at 11120 Fawcett Road, Potomac, MD
20854, on letter adressed to her by the Registrar of Potomac Elementary, dated January 15, 2025.
This diversity requirement requires that the plaintiff have both physical presence in the state and an
intent to reside in the state indefinitely. Wachovia Bank v. Schmidt, 546 US 303 (2006). The
plaintiff submitted es exhibits her Identification card issued by the State of Maryland, and her
intention to reside in the state by the fact that her children are currently enrolled in a school in
Maryland. The plaintiff meets the domicile requirement of 28 USC § 1332 (a). There is no
controversy in the fact that the defendants are all residents or are engaged in business in Puerto
Rico, which for the purpose of diversity is considered a state. U.S. v. Cirino 41 9 F.3d 1001 (9th Cir.
2005).

B) Matter in Controversy: The cited section requires that the civil action or matter in
controversy exceed the value of $75,000.00. The time at which the amount in controversy is
measured is the date <hat the suit is filed. St. Paul Mercury Indem. Co. v. Red Cab Co., 303 US 63
(1938). The plaintiff has alleged that the defendants have caused damages which she estimates at
Ten Million Dollars “$10,000,000.00), This claim must be taken at face value for the purpose of
considering the motion to dismiss, which must take as certain the facts alleged, since at this point
in time there is no evidence to contradict or support this allegation of damages, which was included
in the complaint’s prayer for relief. It is well resolved that the court will construe the complaint

liberally, accept all uncontroverted well pleaded factual allegations as true, and view all reasonalbe
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inferences in plaintiffs favor. Schewer v. Rhodes 416 US 232 (2017). The plaintff meets the second
prong of the Jurisdictional rquirements to allow the Honorable Court to entertain and resolve the
civil matter addressed in this complaint.

6. This Cout has authority under Rule 60 of the Rules of Civil Procedure to grant the plaintiff
the remedy requested, that the Order of Dismissal be set aside and an Order to continue these
proceedings be entered, based on the preceding allegations and the applicable law, that show that
this Court has jurisdiction to grant the plaintiff's demand for remedies.

WHEREFORE, the Plaintiff respectfully requests that the Order Dismissing this case be set
aside, and an Order for the continuation of legal proceedings initiated with the filing of this
complaint be also enzered.

THEREBY CERTIFY that on this date I electronically filed the foregoing document with
the clerk of the Cour: using the CM/ECF System which will send notification of the such filing to
the following parties: LUMA legal division, PO Box 364267, San Juan, PR 00936-4267, to

Alana. Vizcarrondo@ lumapr.com

In San Juan, Puerto Rico, this 12" day of March, 2025.

MODESTO BIGAS LAW OFFICE
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By: _ /s/ Modesto Bigas Mendez
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25-002 Motion to Reconsider
